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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA




RICHARD A. GORMAN                           :
                                                 CIVIL ACTION   20-4759
      vs.
                                            :

ILYA SHPETRIK                                :


                                    NOTICE


             AND NOW, this 21ST      day of JUNE, 2021, it is Ordered

that this matter is SCHEDULED for a TELEPHONE CONFERENCE in

chambers before the Honorable J. Curtis Joyner, on, JUNE 25, 2021

at 10:30AM in Room 17614 - 17TH FLOOR.            (PARTIES ARE INSTRUCTED TO

CALL 1-888-363-4735 ACCESS CODE 9387880#)



PS: If counsel is not available at this time and wish to

reschedule that party shall contact the Deputy Clerk (267-299-

7419) and coordinate a new date and time for all parties.

Plaintiff is to notify all parties of this conference.



ATTEST:                             or       BY THE COURT



BY: S/SHARON SCOTT                       ___________________________
     Sharon Scott                        Judge
     Deputy Clerk
Civ 12 (9/83)
